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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                        Crim. No. 11-87(9) (MJD/JJK)

                       Plaintiff,

v.

(9) Olugbenga Temidago Adeniran,
also known as Dennis Lok,
also known as Dayo Olugbega,
also known as Andre T. Andeiran,                                    ORDER
also known as Andeniran T. Dayo,
also known as Oluwafemi Olarewaju Osibodu,
also known as Dayo, also known as Dre,
also known as Olugbenga Temidayo Adeniran,

                       Defendant.


Ana M. Anaya, Esq., John Docherty, Esq., Assistant United States Attorneys, counsel for
Plaintiff.

Daniel Mohs, Esq., Law Office of Daniel Mohs, counsel for Defendant Adeniran.




       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated September 29, 2011. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, on all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.




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       IT IS HERERBY ORDERED that:

       1.     Defendant Adeniran’s Pretrial Motion to Dismiss the Indictment on Double

Jeopardy Grounds (Doc. No. 464), is DENIED.



Date: October 20, 2011
                                                        s/Michael J. Davis
                                                        MICHAEL J. DAVIS
                                                        Chief Judge
                                                        United States District Court




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